Case 1:05-cr-10065-.]DT Document 9 Filed 08/23/05 Page 1 of 2 Page|D 10

|N THE UNETED STATES D|STR|CT COURT Fl!,_§lf) BY DC
FOR THE WESTERN D|STR|CT OF TENNESSEE ~_"__“_` ` '

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UN|TED STATES OF A|\/IER|CA,

  

'ii_'zr‘ er -i, am COURT
Piaimifr, r.~.) …, yi;,;<$@N

v. Cr. No. 05-10065-T/An
Jarnaine Tipler,

Defendant.

 

ORDER ON ARRA|GN|\/|ENT

 

This cause came to be heard on August 23, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and With the
following counse|, Who is retained:

NAl\/lE: Buddy G|assman
ADDRESS:

TE|_EPHONE:

The defendantl through counse|, Waived formal arraignment and entered a plea of not
guilty.

Al| motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his/her present bond.

l/ The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA 0f1984), is remanded to the custody of the

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U.S. lVlarsha|.
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@- ' mine J¢L_`
S. THOl\/lAS ANDERSON
United States l\/lagistrate Judge
Charges: armed bank robbery

Assistant U.S. Attorney assigned to case: Kitchen
Ru|e 32 Was: Waived not waived.

Defendant's age: ¢?O

This document entered on the docket sheet in compliance
With Ru|e 55 and/or 32(b) FRCrP on % 05

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 1:05-CR-10065 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

J. B. Glassman
GLASSMAN & TANSIL
204 E. Main St.

Jackson7 TN 38301

Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

